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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
WAYCROSS DIVISION

MILFORD CASUALTY INS. CO.,

Plaintiff, — v. Case No. CV520-36

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WILLIAM STACY MEEKS, et al.,

Defendants.
ORDER

The appeal in the above-titled action having been affirmed by the Eleventh Circuit,
United States Court of Appeals,
IT IS HEREBY ORDERED that the judgment of the Eleventh Circuit, United States

Courts of Appeals, is made the judgment of this Court.

SO ORDERED this | day of June, 20

/

HON. LISA GODBEY WOOD, JUDGE
UNINED STATES DISTRICT COURT

SOU RN DISTRICT OF GEORGIA

 
